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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGlA

ROl\/IE DIVISION

PAMELA HANKINS,

AS EXECUTOR OF THE ESTATE
OF BETTY SCHEIVELHUD AND
PAI\/[ELA HANKINS,
INDIVIDUALLY,

Plaintiffs,

vs. CIVIL ACTION

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)
NATIONAL HEALTHCARE )
CENTER OF FORT OGLETHORPE,)
L.P., NATIONAL HEALTHCARE )
CORPGRATION (DELAWARE), )
NHC/OP, L.P., AND

NHC/DELAWARE, lNC.,

FILE NC. 4116-cV-00112-HLM

Defendants.

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STIPULATION OF DISMISSAL WITH PREJUDICE
COME NOW the parties, by and through counsel, and jointly agree to enter
into this Stipulation of Dismissal With Prejudice pursuant to Fed. R. Civ. P. 41(3)(1),
dismissing Defendants National Healthcare Center of Fort Oglethorpe, L.P.,
National Healthcare Corporation (Delaware), NHC/OP, L.P., and NHC/Delaware,

Inc.

 

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WHEREFORE, PREMISES CGNSIDERED, all parties hereby agree to this
Stipulation of Dismissal With Prejudice, the Plaintiff therefore dismisses Defendants
Nationai Heaithcare Center of Fort Oglethorpe, L.P., National Healthoare
Corporation (Delaware), NHC/OP, L.P., and NHC/Delaware, Inc.

Respectfully submitted this 13th day of July, 2016.

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CERTIFICATE OF SERVICE

The undersigned certified that this Notice Was prepared in Times NeW Roman
14 point font as provided in LR 5.1(B).

l hereby certify that on this day, l electronically filed the foregoing With the
Clerk of Court using the Cl\/l/ECF system Which Will automatically send email

notification of such filing to the following attorneys:

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Attorney for Plaintiffs Daniel l\/l. Stefaniuk, Esq.
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This 13th day of July, 2016.

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